        Case 1:24-cv-21050-CMA Document 1-1 Entered on FLSD Docket 03/18/2024 Page 1 of 1
JS 44 (Re1·. 03/24)                                                                       CIVIL COVER SHEET
The JS 44 c iv il cover sheet and the informat ion conta ined here in neither replace nor supplement the tiling and serv ice of p lead ings or other papers as required by law, except as
prov ided by local rules of court. Th is form, approved by the Judic ial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of in it iating the civ il docket sheet. (SU: INS1R//( T/ONS ON NE,ff PA( a, 01' THIS /00//M)
I. (a) PLAINTIFFS                                                                                                                                 DEFENDANTS
                                                                                                                                                  AMERICAN BROADCASTING COMPANIES, INC.. a De laware corporation,
            PRESIDENT DONALD J. TRUMP, an individual,                                                                                             ABC NEWS, INC., a Delaware corporat ion, and GEORGE STEPI-IANOPOULOS,
                                                                                                                                                  an ind iv idual
     (b) County of Res idence of F irst L isted P la intiff                                                                                       County of Res idence of First L isted Defendant    New York County
                                      (l:X( EPT IN U.S. PLAINTWF CASL'i)                                                                                                  (IN US. l'LAINTll'F CASES ONL l')
                                                                                                                                                  NOTE:       IN LAND CONDEMNATION CASES. USE THE LOCATION OF
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     (c) Attorneys (Ftrm Nwne, Addre.,·.,·. a,u/ l'elepho11l' Numher)                                                                             Attorneys (If Knou·,,)
            A l ejandro Brito, Esq., Brito, PLLC
            2 1 21 Ponce de Leo n Boulevard, Suite 650
            Coral G ables, FL 33134

II. BASIS OF JURISDICTION (Placea11 ·-x·i110neBoxOnM                                                                        III. CITIZENSHIP OF PRINCIPAL PARTIES1Ptacem, ".r"i11011eBoxforPtam1iJJ
                                                                                                                                        (For Diversify Cases 011/y)                                                          and OneBm•j;Jr Defendant)
        U.S. Government                                  Federal Question                                                                                                   PTF          D   EF                                                        PTF
          Plaintiff                                        (U.S. Co1'em111e111 Nota Party)                                      Citizen of This State                     [Rl I        01           Incorporated ur Principal Place                    D4
                                                                                                                                                                                                      of Business In This State

D 2 U.S. Government                         IB:] 4       Diversity                                                               Citizen of Another State                                           Incorporated ancl Principal Place                  0
            Dt::frndant                                   (l11dicah· ( 'i1ize11ship t�(l>artie.,· in Item Ill)                                                                                        of Business In Another State

                                                                                                                                 Citizen or Subject of a                  D 3 D 3 Foreign Nation
                                                                                                                                   Foreign Counhy
IV. NATURE OF SUIT (Plocea11 ".\'" in011eBox011! �                                 }                                                                                           Click here for: Nature of Suit Code Descri Jtions.
           C ONTRACT                                                                                                                  F ORFE ITURE/PE NA LTY                          BA NKRUP TCY              OTH ER STATUTE S




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  I10 Insurance                      PE RSO    NAL IN.JU RY           PE RSONAL N         I .JliRY          625 Dmg Related Seizure                422 Appeal 28 USC 158                         375 False Claims Act
  120 Mmine                           3 IO Aiq,lane                               O
                                                                       365 Personal lnju,y -                    of Prope,ty 2 l USC 88 I           423 Withdrawal                                376 Qui Tam (3 l USC
� 130 Mi}}er Act                      315 Airplane Producl                    Product Liability             690 Other                                    28 USC 157                                   3729(a))
  140 Negotiable Instrument                 Liability                  367  HealthO   Care/                                                           N
                                                                                                                                                      I TELLECTU AL                              400 State Reapport'ionment
D 150 Recove1y of Overpayment         320 Assault, Libel &                  Phannaceutical                                                        P    OPERTY
                                                                                                                                          !:=:----------� 410 Antitrust
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      & Enforcement of Judgm ent            Slandc.::r                      Personal lnju1y                                                        820 Copyrights                                430 Banks and Banking
0 151 Medicare Act                    330 Federal Employers'                Product Liability                                                      830 Patent                                    450 Commerce
0 152 Recovery of Defaulted                 Liability                             O
                                                                       368 Asbestos Personal                                                       835 Patent - Abbreviated                      460 Depo1tation
       Student Loans                  340 Marine                              Injury Product                                                             New Drug Application                    470 Racketeer Influenced and

D
      ( Excludes Veterans)            345 Marine Product                      Liability                                                            840 Trademark                0                    C01n1pt Organizations
  153 Recovery of Overpayment
      of Veteran·s Benefits
                                            Liability
                                      350 Motor Vehicle
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                                                                       370 Other Fraud                      710 Fair Labor Standants
                                                                                                                                        _          880 Defend Trade Secrets     0                480 Consumer Credit
                                                                                                                                                                                                      (15 USC 1681 or 1692)
0 160 Stockholders' Suits             355 Motor Vehicle                           O
                                                                       371 Tmth in Lending                      Act
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                                                                                                                                                        Act of20 l6
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                                                                                                                                                                                                 485 Telephone Consumer
0 190 Other Contract                       Product Liability                      D
                                                                       380 Other Personal                   720 Labor/j\.,fanagemenl                SO CI AL SECURJTY                                   Protection Act
0 I95 Conh·act Product Liability      360 Other Personal                    Proper!"\' Damaue                   Relations                          861 HIA(l395fl)                               490 Cable/Sat TV
0 I96 Franchise                            Injury                                 D
                                                                       385 PropertY Dama�e                  740 Railway Labor Act                  862 Black Lung (923)                          850 Securities/Commodities/
                                      362 Persona} lnjllly -                Product Liability               751 Fmnily and Medical          � 863 DIWC/DlWW (405(g)J                                    Exchange
                                           Medical Malpractice                                                  Leave Act                          864 SSID Title XVI                            890 Other Statutory Actions
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    210 Land Condemnation  _          440 Other Civil        _ _
                                                    _ _ _ _ Rights                _ _ _ _
                                                                       Habeas_ Corpus:        _ _ _ _       791 Employee Retirement                                                              893 Environmental ivtaners
                                                                                                                                              ----                                      _
    220 Foreclosure                   441 Voting                       463 Alien Detainee                       Income Secuiity Act        1- F--    _ _ __
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    230 Rent Lease & E_jectmc:nt      442 Employmt!nt                  510 !Vlotions to Vacate                                                     870 Taxes (U.S. Plaintif     0       f
                                                                                                                                                                                                        Act
    240 Torts to Land                 443 Housing/                          Sentence                                                                     or Detendant)                           896 Arbitration
    245 Tort Product Liability             Accommodations              530 General                                                          0 871 IRS-Third Party                                899 Administrntive Procedure
0 290 All Other Real Property         445 Amer. w/Disabilities -       535 Death Penalty                1-------l�il'�IM=l�������--  �, --1
                                                                                                                          GR A T l O N                    26 USC 7609                                Act/Review or Appeal of
                                           Employment                 O ther:                               462 Naturalization Application                                                            Agency Decision
                                      446 Amer. w/Disabilities -       540 Mandamus & Other                 465 Other Immigration                                                                950 Constitutionality of
                                           Other                       550 Civil Rights                         Actions                                                                              State Statuh:!S
                                      448 Education                    555 P1ison Condition
                                                                       560 Civil Detainee -
                                                                            Conditions of
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V.     0 RIG IN (Placean ·x·· i11 nneBox n11t,,)
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        Proceeding                   State Court                                 Appe llate Court                               Reopened                               Distr ct          i             L t gat on -
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 VI. CAUSE OF ACTION 1-B-r- e_f _ d_esc
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VII. REQUESTED IN    0 CHECK IF THIS IS A CLASS ACTION                                                                                DEMANDS In excess of                                        CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, FRCv P                                                                                           $75,000.00                                                JURY DEMAND:                         (2;I Yes         O No
VIII. RELATED CASE(S)
      IF ANY          (Sec 111stn1l·t10m'):
                                            JUDGE

 DATE                                                                                  SIG
             03/18/2024                                                                   �

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     RECEIPT#                          AMOUNT                                               APPLYING IFP                                                        JUDGE                                           MAG. JUDGE
